Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 1 of 48




             Exhibit A
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 2 of 48
                                                                       Filedﬂm
                                                                          NOV 02 2023
                            Cause No.    L‘Zb' 9H” Z                      DiskavILBastropCounty


Cody Dahl,                             §            IN THE DISTRICT COURT
and                                    §
Tonya Cole     ahl,                    §
Individually and as Executors/         §
Administrators of the Estate of        §
Abigail Opal Dahl,                     §
a deceased minor child,                §
                                       §
      Plaintiffs,                      §
                                       §
v.                                     §            BASTROP COUNTY, TEXAS
                                       §
ALPHABET, INC.,                        §
DISCORD, INC.,                         §
GOOGLE, LLC, dba Duo/Meet,             §
Gboard, YouTube, and all subsidiaries, §
HOLLA GROUP, Ltd., dba Monkey, §
SNAP, INC., dba SNAPCHAT,              §
JOHN & JANE DOES 1—10,                 §
Corporate COS., 1-10,                  §
                                       §
      Defendants.                      §            _      JUDICIAL DISTRICT
                            ORIGINAL PETITION
      We, the undersigned plaintiffs Cody Dahl and Tonya Cole Dahl,

individually and as administrators of our deceased daughter Abigail Opal

Dahl’s estate, now come before this Court complaining of Defendants

Alphabet, Inc., Discord, Inc., Google, LLC, the named subsidiaries of
Google, Holla Group, Snap, Inc., and John & Jane Does 1-10 or

Corporate Cos. 1-10, and seeking relief as follows:

Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
          Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 3 of 48




              DISCOVERY CONTROL PLAN: RULE 100.4
1.    We, the Plaintiffs, will conduct discovery in this case under level 3, by

a discovery Control plan specially tailored to the unique and complex

circumstances of this case. We will endeavor to reach an agreed order with

the Defendants pursuant to Rule 190.4(a).

                                TRIAL-by—JURY
2.    We, the undersigned Plaintiffs Cody Dahl and Tonya Cole Dahl,

demand a trial—by-jury of all issues so triable under Article 1, §15, and Article

5, §10, of the Constitution of the State of Texas, as well as the Seventh

Amendment to the Constitution of the United States.

                        JURISDICTION and VENUE
3.    The District Court has jurisdiction because our demand for damages

exceed the jurisdictional ﬂoor and minimum of the District Courts in Texas;

the District Court also has jurisdiction to render injunctive relief.

4.    Venue is proper in Bastrop County under §15.001 et seq. of the Texas

Civil Practice & Remedies Code because (a) Abigail Opal Dahl committed

the self-injury resulting in her death in Bastrop County, was hospitalized at

Seton Hospital in Bastrop County, and (b) the Bastrop County Sheriff’s Ofﬁce

investigated her death, (c) many witnesses reside in and Google, Discord,

and other Defendants all operate and conduct business in Bastrop County.
                                                                                2
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 4 of 48




                     BACKGROUND AND SUMMARY

5.    On November 3, 2021, our daughter, Abigail Opal Dahl, a beautiful

12-year—old girl, died 16 days before her 13th birthday, at the Dell Children’s

Medical Center in Austin, Texas, after she hanged herself beside her own tree

house at her grandmother’s home in Smithville, Texas, on October 18 of that

year. See Exhibits A (Abigail Photo) and B (Bastrop County Sheriff’s Report).

6.    We sue here for wrongful death, brought on by social media which

breached the protective net we had tried to build around our daughter, in

promoting cults of death, disobedience, and generally dysfunctional living.

7.    Our ﬁrst and primary goal is to sue for damages for Abigail’s wrongful

death and intentional inﬂiction of emotional distress caused by certain John

& Jane Does, or Corporate Cos., whose identities are unknown to by us,

but known to and concealed from us by Defendant Google LLC and the other

Defendant Internet Service Providers herein named.

8.    Second, in order to identify the culprits liable for Abigail’s death,

however, and as a necessary predicate to discovering the true names and

identities of our John and Jane Doe Defendants, we ﬁle for an injunction

ordering Defendants ALPHABET, Inc., DISCORD, Inc., GOOGLE, LLC

(including all of YouTube’s subsidiaries and associates, HOLLA GROUP, and

SNAP, dba SNAPCHAT, to use all available technology to recover and

Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 5 of 48




disclose all of Abigail’s on—line records, which Google refused t0 disclose

upon our previous request submitted over a year before ﬁling this Petition.

                        —”,
See “Google’s refusal: mstmortemrequests@google.com                    Exhibit C.

9.    Third, in support and aid of our ﬁrst two causes of action and requests

for relief, we seek a declaratory judgment concerning our rights to ﬁle a

complaint for bill equitable discovery under the open Courts provision of the

Texas Constitution, and fourth, in fact we present this complaint for

equitable bill of discovery as our common law and constitutional right.

10.   Fifth and ﬁnally, we seek an order of declaratory judgment to extend,

modify or reverse the immunity provisions of the Communications Decency

Act (CDA), 47 U.S.C. §230(c), as applied and construed by the courts as a

violation of our natural and constitutional rights as parents and as

administrators/ executors of the estate of Abigail Dahl.

                               Parties: Plaintiffs
11.   I, the undersigned Tonya Cole Dahl, have a Canadian Social Insurance

Number (SIN), the last three digits of which are 002. I also have a Canadian

Driver’s license, the last three digits of which are 894. I am married to Cody

Dahl and am /was the natural mother and primary caretaker of my late

daughter Abigail Opal Dahl.



Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 6 of 48




12.   I, the undersigned Cody Dahl, have a Canadian Social Insurance

Number (SIN), the last three digits of which are 626. I also have a Canadian

Driver’s license, the last three digits of which are 852.

13.   We currently reside in Smithville, Texas, at the home of Tonya’s

mother, Jean Cole, although we have basically spent our lives traveling back

and forth between Canada (most recently in Regina, Saskatchewan) and

Texas. Cody is in the process of establishing permanent USA residency.

14.   Our daughter, Abigail Opal Dahl, was born on November 19, 2008,

and died on November 3, 2021. We, the plaintiffs, are her parents and the

sole administrators of her estate. We do not accept or believe that Abigail

knowingly, understandingly and intentionally took her life, but that she was

misled and “seduced” by social media promotion and algorithms which

generate proﬁt for the defendants by suggesting, encouraging and inspiring

risky and dangerous behavior, self-destruction, and death.

15.   Wherefore and accordingly, we charge wrongful death by “content

creators” who were promoted and directed by the Defendants to vulnerable,

underage girls like our daughter, maximizing female suicide in 2021.

                             Parties: Defendants
16.   Alphabet, Inc., is         a Delaware corporation headquartered in

Mountain View, California.         Alphabet, Inc., is the parent/umbrella
                                                                                5
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 7 of 48




corporation which owns subsidiary corporations, apps and entities named as

Defendants here: Google, LLC, Gmail, YouTube, Gboard, and the

Google Team (including “postmortemrequests@google.com”) the
latter two of which (Gboard and the Google Team) do not appear to have

a separate legal identity.

17.   Alphabet, Inc., may be served with citation and process through its
registered agent at 251 Little Falls Drive, City of Wilmington, County of New

Castle, Delaware 19808.

18.   Discord, Inc., is a software company operates voice, video, and text
communication service platforms.             Discord, Inc., is         a   Delaware

Corporation with Registered Address at 444 De Haro Street, Suite 200, San

Francisco, California 94107, which may be served with citation and process

by and through its Agent CT Corporation System, 330 North Brand Blvd.,

Suite 700, Glendale, California 91203.

19.   Google, LLC, is a subsidiary of Alphabet, Inc., but lists its principal

place of business and custodian of records as either: “Google, LLC, c/o

Custodian of Records, 1600 Amphitheatre Parkway, Mountain View,

California 94043, USA,” or “Google, LLC c/o Custodian of Records, 1001

North Shoreline Boulevard, Mountain View, California 94043.” Google,

LLC., then designates as its registered agent for service of process,
                                                                                 6
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 8 of 48




“Corporation Service Company (CSC), 2710 Gateway Oak Drive, Suite 150N,

Sacramento, California 95833.”

20.   Holla Group Limited is the creator of the Monkey App, a “unique
roulette style match algorithm and live video communication” which

Abigail Opal Dahl appears to have used in the months prior to her suicide.
21.   Holla Group is a U.K. Corporation with Company Number 10570278,

and its registered ofﬁce address at “The Forge, Old Park Road, Crewe,

Cheshire, England CW1 5UE, United Kingdom of Great Britain and Ireland.

Holla has been acquired by Huafang Group of China but appears to maintain

its UK identity.

22.   Snap, Inc., is the Santa Monica, California-based owner and
developer of SnapChat, with headquarters at 3000 315‘ Street, Loop North,

Santa Monica, California 90405.

23.   Snap, Inc., is a Delaware Corporation with registered ofﬁce for
service of process at the Corporation Service Company, 2711 Centerville

Road, Suite 400, City of Wilmington, County of New Castle, Delaware 19808.

24.   YouTube is a subsidiary of Alphabet, Inc., and Google, LLC, with
its headquarters at 901 Cherry Avenue, in San Bruno, California 94066 USA.

The California Secretary of State lists YouTube Entertainment Studios, Inc.,

at 901 Cherry Avenue, in San Bruno, as an active Delaware Corporation
                                                                                7
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 9 of 48




which may be served together with Google at 1505 Corporation, CSC-

Lawyers Incorporating Service, 2710 Gateway Oaks Drive, Sacramento,

California 95833 through employees Becky DeGeorge, Koy Saechao, Lai

Saevang, or Nicole Staus.

25.   John Does 1—10: Abigail followed at least one “gamer boy” “P” that
we know of, on Nintendo and YouTube. We believe there were several boys

online and perhaps in the real world who convinced Abigail that there was

something wrong with her, wrong with her life, and generally engendered

cognitive dissonance sufﬁcient either to lead her to commit suicide, or to play

high risk “challenge” games which ultimately led to accidental death.

26.   Jane Does 1-10: There were several girls of whom we know whose
interactions crossed between the virtual and real world.          A minor named
LAB was Abigail’s best friend. Her mother blamed us for Abigail’s death.
This was a common theme. Another real—world friend, who led Abigail into

the world of Discord, was another minor named                J K, who introduced
Abigail to many people we did not know.

27.   Corporate Cos 1-5: In addition to the named corporate defendants,
we believe that there may be other “on-line content creators” who generate

real-world challenges and dares, including experiments with strangulation



Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 10 of 48




or “faked” suicide (as an emotionally manipulative game to test parental

reaction), which can result in real—world injury and death.

              RULE 47(c) STATEMENT of RELIEF SOUGHT
28.   We move and pray that this Court will allow discovery to proceed and

to set and hold a trial-by—jury for the ﬁnal determination of just damages as

compensation for the death of our daughter and the loss, suffering and

indignities we have sustained as a result of the culture of perversions

promoted on the internet which killed our daughter, destroying her bright

future, and ours.

29.   Damages: as required by Rule 47(c) of the Texas Rules of Civil

Procedure, however, we aver that we seek monetary relief of not less than

$52,ooo,ooo.oo (ﬁfty-two million dollars) nor more than $12o,ooo,ooo.oo

(one hundred twenty million dollars) for the injuries we have suffered.

3o.   Declaratory Judgment: as further required by Rule 57(d), as noted

above,   we    also   seek   declaratory judgment        concerning the Texas

Constitution’s Open-Courts provision and the recognition of our right to ﬁle

a complaint for equitable bill of discovery such as formerly existed and was

common in Texasl.


1
      ...a bill of discovery can be brought against a person or entity unrelated
to the primary dispute, but having information needed by a litigant, for the

Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 11 of 48




31.   Furthermore, we ask this court to extend, modify, or reverse existing

jurisprudence concerning the judicial application and construction of

immunity under the Communications Decency Act (CDA), 47 U.S.C. §23o(c).

32.   But at the core of our suit against the named ISPs, and any Corporate

Cos., whose identities are as yet unknown to us, by our Bill of Discovery we

seek a mandatory injunction to search their records and disclose all

information available concerning our daughter’s contacts and activity,

expressive and communicative, on the internet/ world wide web.

33.   We, the undersigned Plaintiffs, Cody Dahl and Tonya Cole Dahl,

were and are Abigail’s parents.      Over the past two years, we have suffered

unspeakable loss and emotional anguish and distress over our daughter’s

death. We have blamed ourselves and many of our friends and neighbors

have blamed us too.




sole purpose of obtaining the names against whom a cause of action is
maintainable and contemplated. The trial court in the exercise of its equity
power can order that information produced ...As concerns that defendant
from whom the information is sought, the order is not deemed incidental to
the contemplated suit but instead is in the nature of a mandatory injunction.
Pelt v. State Board of Insurance, 802 S.W.2d 822 at 828 (Tex.App.--—
Austin 1990).
                                                                                10
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 12 of 48




34.   To make us whole is impossible until the second coming of Christ and

the resurrection of the dead at the end of time. But in this world, declaratory

judgment, injunctive relief, and damages are what we seek by this lawsuit.

35.   By way of special relief, to the degree that the Defendant ISPs refuse to

cooperate, we submit and ask this Court to declare and adjudge that they (all

of the non-cooperating defendants) should be deemed accessories,

accomplices, and co-conspirators in the abuse, indoctrination, and murder

of our daughter.

      INITIAL DISCLOSURES DUE 30 DAYS AFI‘ER ANSWER
36.   We give the Defendants notice that Rule 194 of the Texas Rules of Civil

Procedure now requires each defendant automatically to serve required

initial disclosures on us, as the Plaintiffs, within thirty days of ﬁling each of

their individual answers to this Petition or initial appearances by motion.

Rule 194 requires the following information to be provided by initial

disclosure without service of any discovery request:

      A. The correct names of the parties to the lawsuit;
      B. The name, address, and telephone number of any potential parties;
      C. The legal theories and, in general, the factual bases of the
         responding party’s claim or defenses (the responding party need not
         marshal all evidence that may be offered at trial);
      D. The amount and method of calculating economic damages;
      E. The names, addresses, and telephone numbers of persons known to
         have relevant facts, and a brief statement of each identiﬁed person’s
         connection to the case;
                                                                                11
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
          Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 13 of 48




       F. A copy or a description by category and location — of all documents,
           electronically stored information, and tangible things that the
           responding party has in its possession, custody, or control, and may
           use to support its claims or defenses, unless the use would be solely
           for impeachment;
      GHLJ.


         . Indemnity and insurance agreements as described in Rule 192.3(f);

          .Any Settlement Agreements as described in Rule 192.3(g);
           Any and all witness statements as described in Rule 192.3(h);
           In any suit alleging physical or mental injury and damages from the
           occurrences (on-line corruption, seduction and death of Abigail
           Opal Dahl and the aftermath to us her parents of these events or
           processes), all medical records and bills that are reasonably related
           to the injuries or damages asserted or, in lieu thereof, an
           authorization permitting the disclosure of such medical facts in
           records and bills;
       K. In any suit alleging physical or mental injury and damages from the
           occurrences that are the subject of this case, all medical records and
           bills obtained by the responding party by virtue of an authorization
           furnished by the requesting party; and
       L. The name, address, and telephone number of any person or
           persons, or ﬁrm, who may be designated as a Responsible Third
           Party.

                 THE INTERNET CULTURE OF DEATH

37.   A ﬂood of lawsuits and news articles in the United States and Canada
show that involvement in the internet/world wide web has caused a

nationwide, possibly worldwide, epidemic of mental health problems leading

to suicide and self-injury in minor children.

38.    The Defendants are all leaders in the promotion of “experimental” and

unregulated content to the children, both adolescents and sub-adolescents.



                                                                                l2
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 14 of 48




39.   Bullying and harassment, violent and graphic content, unrealistic

expectations of growth, health, and sexuality are all frighteningly common

on any and all of the Defendants’ products and services.

4o.   Defendants have all taken steps to minimize the public awareness of

the harmful experiences that are widespread in the use of their products, in

particular Discord, Google, Monkey, SnapChat, and YouTube, especially for

young users.

41.   No effective boundaries are in place despite published “minimum age”

guidelines, and our late daughter Abigail Opal Dahl was clearly able, at the

age of 12, secretly to access vast amounts of material which was harmful to

her both physically and mentally, on secretly “stolen” phones with no

assistance, encouragement, nor our express or implicit permission.

42.   The internet/world wide web, appears to be the lawless WILD WEST

for young users, who experience higher rates of major depressive episodes,

anxiety, sleep disturbances, and other mental health concerns2, all of which



2
      See, e.g., Jonathan Haidt (NYU-Stern) & Jean Twenge (San Diego
State U), & Zach Rausch (NYU-Stern) Social Media and Mental Health:
A Collaborative Review (unpublished manuscript, on ﬁle with New York
University), available at tinyurl.com/SocialMediaMentalHealthReView (last
consulted November 2, 2023, 2023); see also Jacqueline Nesi et al.,
Handbook of Adolescent Digital Media Use and Mental Health,
Cambridge Univ. Press (2022).
                                                                                13
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 15 of 48




Abigail Opal Dahl developed in the last six-eight months of her life,
although we did not realize it was coming from the internet/ web because we

THOUGHT we had successfully monitored and limited her access.

43.   Defendants intentionally focus on designing features to increase time

spent on their Platforms, so that heavy (teen and younger) consumers of

social media have developed worse mental health outcome, including but not

limited to poorer sleep patterns (e.g. later sleep and wake times on school

days and trouble falling back asleep after nighttime awakening and poorer

sleep quality due to excitement/worry/obsession.)3.

44.   Abigail Opal Dahl exhibited all these patterns in the last six-to—eight

months of her life, and we did not understand.

45.   Such sleep interference in turn causes or exacerbates symptoms of

depression and anxiety4. Lack of sleep also has negative physical effects,


3
     Holly Scott et al., Social Media Use and Adolescent Sleep
Patterns: Cross-Sectional Findings from the UK Millennium
Cohort Study, 9 BMJ Open 1 (2019); Garrett Hisler et al., Associations
Between Screen Time and Short Sleep Duration Among
Adolescents Varies by Media Type: Evidence ﬁ‘om a Cohort
Study, 66 Sleep Med. 92 (2020).
4
     Megan A. Moreno & Anna F. Jolliff, Depression and Anxiety in
the Context of Digital Media, in Handbook of Adolescent Digital Media
Use and Mental Health 227 (2022); see also, e.g., Huges Sampasa-Kanyinga
et al., Use ofSocial Media is Associated With Short Sleep Duration
in a Dose-Response Manner in Students Aged 11 to 20 Years, 107
Acta Paediatrica 694, 694—700 (2018).
                                                                                14
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et aI.
        Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 16 of 48




including interfering with normal physical response to any ordinary

stressors.

46.   These physical and mental harms are particularly acute for young

users, who have less discipline and self-control, and are thus less able to

regulate the time they spend on social media platforms. When companies

like the Defendants design platforms to exploit young users’ psychological

vulnerabilities, the harms are exponentially compounded.

47.   Systems theory classiﬁes this as a positive feedback loop: those who

use social media habitually are less able to regulate their behavior; that

habitual use, in turn, leads them back to more social-media use; and

restarting the cycle, that additional use makes it even harder to regulate the

problematic behavior5.

48.   Heavy use of social media at the boundary between childhood and teen

years has severely negative impacts on long and short term life satisfaction

and adjustment.

49.   Research indicates that going through puberty, which normally

happens at 12—13 precisely Abigail Opal Dahl’s age, while being a heavy



5
      Maria T. Maza et al., Association ofHabitual Checking Behaviors
on    SocialMedia with Longitudinal                        Functional           Brain
Development, 177 JAMA Pediatrics 160 (2023).
                                                                                   15
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
        Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 17 of 48




social media user, especially a SECRET and HIDDEN user, much like being

a secret alcoholic, exacerbates the problem and interferes with all sensitive

social and practical learning at this critical moment in human life6.

50.   The bottom line is that the Defendants’ Social Media in particular are

DESIGNED TO BE ADDICTIVE and that young users who often feel an extra

need to be connected at night and frequently wake up throughout the night

to check their social media notiﬁcation are much more likely to have

clinically relevant symptoms of depression than non-users7.

51.   We were very protective parents, as Regina van den Eijnden and her

colleagues recommend in their above-cited “Longitudinal Study on the

Protective Role of Parental Rules”.

52.   We actually went to fairly extreme measures to block Abigail’s access

to the corruption of the web by passwords, supervision, and time-tables.


6
      See, e.g., Amy Orben et al.,           Windows of Developmental
Sensitivity to Social Media, 13 Nature Comm. 1649 (2022).
7
     Anushree Tandron et al., Sleepless Due to Social Media?
Investigating Problematic Sleep Due to Social Media and Social
Media Sleep Hygiene, 113 Computers in Human Behavior 106487
(2020). Regina J.J.M. van den Eijnden et al., Social Media Use and
Adolescents’ Sleep: A Longitudinal Study on the Protective Role
of Parental Rules Regarding Internet Use Before Sleep, 18 Intl. J.
Envtl. Res. Pub. Health 1346 (2021). Sampasa-Kanyinga et al., supra note
18; see also Marian Freedman & Michael G. Burke, Social Media and
Sleep Duration-There Is a Connection!, 35 Contemp. Pediatrics J.
(2018).
                                                                                16
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 18 of 48




53.   But the power wielded by the Defendants over the internet use and web

behavior of our daughter was greater than the power of our rules; and we

submit that their power killed our daughter.

54.   We want to know how and why, and ﬁnd out exactly what happened.

55.   These are the socially functional purposes of our lawsuit: we want to

save other parents’ children who are still alive.

56.   Our daughter died in the last quarter of 2021, which was the highest

year recorded for teen suicide attempts, ages 12 to 17 years old8.

57.   The youth mental health crisis fueled by social media platforms, such

as those operated by the Defendants which we know our daughter used, has

been particularly detrimental for girls and young women.

58.   Suicidal ideation has surged among girls over the past decade ending

in 2021. According to the CDC’s above cited Youth Risk Behavior Survey, in

2011, 19% of high school girls seriously considered attempting suicide. By


8
      Youth Risk Behavior Survey, Data Summary & Trends
Report: 2011—2021, at 61, Ctrs. for Disease Control & Prevention (2023),
archive.ph/NYuQX. Gregory Plemmons et al., Hospitalization for
Suicide Ideation or Attempt: 2008-2015, 141 Pediatrics 1, 4-5 (2018);
see also Brett Burstein et al., Suicidal Attempts and Ideation Among
Children and Adolescents in US Emergency Deparbnents, 2007-
2015, 173 JAMA Pediatrics 598, 598—600 (2019). See also, Jean Twenge,
Increases in Depression, Self-Harm, and Suicide Among U.S.
Adolescents qﬁer 2012 and Links to Technology Use: Possible
Mechanisms. 2 Psychiatric Research & Clinical Practice 19 (2020).
                                                                                17
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 19 of 48




2021, that ﬁgure reached 30%, and our beautiful daughter became part of

that tragic statistic.

59.   This increase in suicidal ideation among girls has been accompanied

by an increase in actual suicide attempts. In the past decade, there has been

a 30% increase in the rate of high school girls who attempted suicide, but our

beloved daughter never made it to high school.

60.   Increased rates of suicidal ideation and attempts have led to an overall

higher rate of completed suicides among young girls.

61.   Further, the lockdowns resulting from the COVID—19 pandemic plainly

exacerbated excessive social media use. The increase in consumption of

digital and social media by young users during this time is linked to an

increase in “ill-being” and media addiction9; the harmful link is social media.

62.   We allege that, jointly and severally, all the Defendants’ design choices

and practices take advantage of and contribute to young users’ susceptibility

to addiction.    We charge that the Defendants exploit the psychological

vulnerabilities of young children, “’Tween” and Teen users through the false

promise that meaningful social connection lies in the next story, image, or



9
      Laura Marciano et al., Digital Media Use and Adolescents’
Mental Health During the Covid-19 Pandemic: A Systematic
Reive and Meta-Analysis, 9 Front Pub. Health 783868 (2021).
                                                                                18
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 20 of 48




video and that ignoring that next piece of social content and context could

lead to social isolation.

63.   “’Tween” and Teen users, (our daughter was obviously a “’Tween”)

become Victims when they have to cope with emotional issues like “not
                      ,7,
having enough ‘friends or “having friends who aren’t really their friends” or
                            3,   ‘6                                  3’ “
“creating a perfect image , not being honest about feelings,                wanting to

hurt of kill themselves, or feeling down, sad, alone, lonely, and just “not good

enough.”

64.   We know our daughter’s internet interactions and web use caused her

adverse mental consequences, caused her anxiety, and ultimately created a

cognitive dissonance between her family life and “the life of the world” to

which Abigail Opal Dahl, suffering from disturbed sleep, unable to reconcile

our family values with the values of the world, either gave up trying or

decided to experiment with strangulation, perhaps hoping to survive or just

to shock and horrify us, as we know this is promoted on many game

platforms on YouTube, Discord, and SnapChat in particular.

65.   We did not know enough, in November 2021, effectively to demand an

investigation. The Bastrop County Sheriff’s ofﬁce (see Exhibit B), was of no

help whatsoever.


                                                                                   19
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 21 of 48




66.   But we now know that in other jurisdictions, at least one coroner has

expressly found that a young girl has “died from an act of self-harm whilst

suffering from depression and the negative effects of on—line content,” that

she had not sought out, but that certain of the Defendants’ algorithms has.

pushed on her.

67.   We allege that the Defendants named here knowingly operate in such

a way using algorithms to result, in some circumstances, of binge periods of

images, video-clips, and text some of which were selected and provided

without expressly requesting them.

68.   These algorithmic binges focus on words or phrases used as searches

or queries on the order of “I want to kill myself” and provide graphic images

to portray self-harm and suicide as an inevitable consequence of a social

condition that a child, like our daughter, could not recover from.

69.   We allege that the Defendants’ sites normalized her condition focusing

on a limited and irrational view without any counterbalance of normality.

7o.   We allege that the Defendants imposed no effective age veriﬁcation

when signing up on the platform, and we know for sure that we did not have

access to the material being viewed or any control over that material.

71.   We allege that the Defendants have created a virtual culture of reckless

disregard for life and its best elements, including family and real friends.
                                                                                20
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 22 of 48




              FIRST CAUSE OF ACTION:
  WRONGFUL DEATH BY UNKNOWN “CONTENT CREATORS”

72.   We reallege Till—72 and incorporate the same by reference as if fully

copied and restated herein to be part of our First Cause of Action.

73.   We tried designed our own, and our daughter’s, lifestyle to be separate

and apart from the commercial materialism and corruption of the modern

world; we didn’t normally watch TV or go to movies or malls or “chain” or

convenience grocery stores.

74.   We homeschooled Abigail except for the six months we                  in Costa
                                                                     were
Rica where we wanted her to be in school to learn Spanish.

75.   Abigail responded very well to her studies.

76.   She liked to study the periodic table of the elements; she played the

harp; she was very musical and artistic, and yet had a profound appreciation

for nature, honesty, and sincerity. She had a horror of everything “fake.”

77.   We raised her as a Christian outside of the conﬁnes of any mainstream

denomination or Church. We taught her to think for herself.

78.   We never discussed death, murder, or any of the problems of the world.

79.   I guess we thought that there would be time enough for all that when

she grew up---we wanted her to preserve her childhood innocence.




                                                                                 21
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 23 of 48




80.   Within our family life, in short, we isolated Abigail to the extent that

we are fairly sure she never saw a hanging on TV or in the movies.

81.   So where did she get the idea of hanging by the neck until dead? From

American or World history ? Or from the internet?

82.   We believe the concept of suicide was alien to Abigail’s home life and

studies, and so it had to have come to her through the internet.

83.   She obviously learned certain concepts from her friends. In the six

months before she died, she said a lot of things that surprised us. She told a

classmate in chat she attended that she wanted to identify as “non-binary.”

84.   She told me (Tonya, her mother) that I was “homophobic.”

85.   She asked my mother (Jean Cole) whether she could become

“emancipated” and she sang a song about emancipation—--not the

emancipation of the slaves, like an old-fashioned African-American

“spiritual”, but the modern emancipation of a child from her family.

86.   We didn’t take any of this too seriously.

87.   The morning of the day she hung herself, October 18, 2021, we

discovered that she had two “secret phones” on which she was accessing the

internet/world wide web.

88.   We conﬁscated these phones and said that “had to stop”---we still

believed we could protect her.
                                                                                22
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 24 of 48




89.   She hung herself on October 18, and two weeks later, on November 3,

2021, she died at Dell Children’s Hospital in Austin.

90.   We submit, as a matter of res ipsa loquitur, that the facts speak for

themselves: the inspiration, or the confusion, or the instructions to kill

herself came from “content creators” on the internet/world~wide web.

91.   We asked the Bastrop County Sheriff’s Ofﬁce to investigate, but they

basically had no idea how or what to do. So we felt helpless and did nothing.

92.   Since the idea of suicide could not have come from us, it had to come

from the outside, and the “but for” causation of her death was the

internet/world wide web, the Defendants and their algorithms, which we

only discovered after Abigail was gone. Res Ipsa Loquitur.

93.   But the content created on the internet is, very precisely created.

94.   If negligence applies, it is the negligence of the Defendants, but they

intentionally have protected the culprits by refusing to hand over Abigail’s

information: see Exhibit C.

95.   We therefore allege that certain web “content creators” induced Abigail

to kill herself, and should be liable for killing her, under the tort theories of

intentional inﬂiction of emotional distress and wrongful death, applying the

essential res ipsa loquitur principle that the Defendants working together

with John & Jane Does 1-10 and/ or Corporate Cos. Who were “Content
                                                                                23
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
             Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 25 of 48




Creators” and these crestors had sole control over exposing our daughter to

the concept, perhaps, of “emancipation by suicide.”

96.   Summary of CAUSATION: But for the ISP Defendants’
immunized protection and promotion of dangerous and injurious

algorithms which push John and Jane Does 1-10 [and Corporate
Cos. 1-5] dangerous and injurious content on vulnerable young

people, especially young girls around, at, or approaching puberty,
our   daughter would never have committed suicide or attempted
severe       self-injury leading to her death.
97.   The ISP defendants should not be allowed to protect these
John & Jane Doe wrongdoers by refusing to disclose the identity
of deceased girls who appear to have been effectively “talked into
         ”
dea          by algorithmic promotion of death ideation.
98.   WHEREFORE, upon ﬁnal trial—by—jury, we ask the Court to instruct
the jury, enter judgment, and assess damages on these John Does 1-10 or

Corporate Cos in the minimum amount of $52,000,000.00.

99.   This amount will not sufﬁce to make us “whole” or to restore Abigail’s

life, but it may perhaps be sufﬁcient to serve as punishment for the

wrongdoers, or to serve as an example to others similarly situated.


                                                                                24
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 26 of 48




              SECOND CAUSE OF ACTION:
       MANDATORY INJUNCTION BY BILL OF DISCOVERY
100. We reallege 11111-72 and incorporate the same by reference as if fully

copied and restated herein to be part of our Second Cause of Action.

101.   We (well, actually, one of us: I Tonya Cole Dahl) wrote to Google, LLC,

requesting full access to Abigail’s email account (theabcat89@gmail.com)

and all information derivative from and related thereto.

102. Google, LLC, has expressly refused, as shown in Exhibit C.

103. I have not presented my demand to any of the other Defendants, but I

now ask this Court to enter a mandatory injunction for a Bill of Discovery

against each of the Defendants: Alphabet, Inc., Discord, Inc., Google,

LLC, for each of YouTube, Gboard, Duo/ Meet as the named subsidiaries of
Google, Holla Group (for Monkey), Snap, Inc., (for SnapChat),
and any of Corporate Cos. 1-5 who may be identiﬁed and served.

104. This Bill of Discovery should be comprehensive and, because alleged

criminal conduct (wrongful death, at the very least “manslaughter”), no

privacy rights of any party mentioned should restrain the identiﬁcation of

potential witnesses to this crime.

105. As quoted above, the Austin (Texas 3rd District) Court of Appeals, per

Justice Marilyn Aboussie, held in 1990 that:

                                                                                25
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 27 of 48




          a bill of discovery can be brought against a person or entity
       unrelated to the primary dispute but having information needed
       by a litigant for the sole purpose of obtaining the names of
       persons against whom a cause of action is maintained or
       contemplated.

106. Since this case has never been overruled, and refers back to a holding

of the Supreme Court of Texas in 194010, we submit that, as a matter of equity

and fairness, and pursuant to the Open Courts Provision of the Texas

Constitution, this Court must allow our suit against John & Jane Does 1—10

and Corporate Cos. 1-5 to proceed, and must order Alphabet, Inc.,

Discord, Inc., Google, LLC, Snap, Inc., SnapChat, YouTube and
each of the other Defendants to retrieve and deliver to us all records

concerning the on-line activity of our late daughter Abigail Opal Dahl.

107. We submit that we have no other adequate remedy at law nor any other

path, means, or avenue to obtain this information.

108.   SUMMARY OF CAUSATION: But for the immunized
immunity of Defendants as internet service distributors and
providers, the John Does could not and would not distribute their
harmful content so easily, readily, and widely without vast

expense.

1°
       Dallas Joint Stock Land Bank of Dallas v. State ex rel. Ed
Cobb et al., 137 S.W.2d 993 (Supreme Court of Texas, March 13, 1940).
                                                                                26
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 28 of 48




109.   The ISP defendants should not be allowed to protect

wrongdoers by refusing to disclose the identity of deceased girls
who appear to have been effectively “talked into death” by

algorithmic promotion of death ideation.
110.   Freedom of the Press cannot be construed to include an ISP’s

protection of “privacy” for anonymous “content creators” to create and say

injurious things and/or promote injurious or highly risky behaviors to

children/tweens/teensleading to actual harm, including self-injury and

death,

111.   We submit that we have already suffered irreparable injury and that

the balance of the equities favors exposing the truth concerning the history

behind our daughter’s suicide.

112.   Finally, we submit that public policy favors the grant of an injunction
in this case, for all the reasons stated in the text of and academic and medical

research footnotes to our paragraphs 38-72 “The Internet Culture of Death.”

113.   WHEREFORE, we move for a mandatory injunction against all
defendants requiring comprehensive investigation, restoration, discovery,

and delivery of all of our daughter’s internet activity on their respective

platforms.


                                                                                27
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 29 of 48




  THIRD CAUSE OF ACTION FOR DECLARATORY JUDGMENT:
    TEXAS OPEN COURTS REOUIRE COURTS TO ALLOW A
      COMPLAINT FOR EOUITABLE BILL OF DISCOVERY

114.   We reallege 1Hl1—72 and incorporate the same by reference as if fully

copied and restated herein to be part of our Third Cause of Action.

115.   Article 1, §13 of the Texas Constitution states:

                           All courts shall be open,
                and every person for an injury done him,
               in his lands, goods, person, or reputation,
                 shall have remedy by due course of law.
116.   Despite the 1990 opinion in the Austin Court of Appeals by Justice

Aboussie, there is a 2007 opinion for the Texas Court of Appeals for

Texarkana to the contrary, holding that “following enactment of rule

governing discovery, trial court does not retain authority to issue a discovery

order by virtue of the common law equitable bill of discovery.” In re Does

1-10, 242 S.W.3d 805 (Tex.App.—Texarkana December 12, 2007).

117.   Because we are seeking to sue and then identify 10 John Does as well,

we believe that this case is wrongly decided and must be overruled or

disregarded in favor of Justice Aboussie’s ruling in Austin in 1990.

118.   We submit that the Texas Constitution’s guarantee of Open Courts

requires recognition of the Common Law Complaint for Equitable Bill of



                                                                                28
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 30 of 48




Discovery along the lines traditionally upheld in Texas and other states, most

notably Florida, where the Complaint for Pure Discovery is alive and wel 11.

119.   Wherefore and accordingly, we move and request that this Court

uphold the Texas tradition of a Complaint for Equitable Bill of Discovery as

a right under the Open Courts provision of the Texas Constitution.

                FOURTH CAUSE OF ACTION:
        TO EXTEND. MODIFY or REVERSE ISP IMMUNITY
         UNDER THE COMMUNICATIONS DECENCY ACT
                     42 U.S.C. §23o(c)
12o. We reallege 11111-72 and incorporate the same by reference as if fully

copied and restated herein to be part of our Fourth Cause of Action.

121.   Courts have applied and construed the Communications Decency Act

to provide an oppressive and dangerous form of absolute immunity for

internet service providers who merely “edit” or “censor” but do not “write”

or “publish” or “speak” content created by others.

122. The     distinction    between     “editing”   (and/or     “censoring”)    and

“publishing” in the context of internet distribution or “content creation” is

unrealistic in the extreme. Editing is often the process which transforms




11
     The Complaint for a Pure bill of discovery: a Living,
Breathing, Modern Day Dinosaur? Daniel Morman: Florida Bar
Journal, March 2004--—78—MAR Fla. B.J. 5O
                                                        29
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 31 of 48




literary garbage into best-sellers. Censorship is often the process which

makes the mediocre sell better than the true masterpiece.

123. But regardless, the distinction is highly subjective and this Court

should declare it VOID FOR VAGUENESS.

124. The vagueness of the Communications Decency Act as applied and

construed in the courts creates and maintains multiple opportunities for

arbitrary and capricious judicial preferences in favor of large corporations

such as the individual victims of corporate practices and policies, including

the use of algorithms which act as “forced publishers” encouraging

consumption of deleterious material to the proﬁt of ISPs and the detriment,

injury, and sometimes death of people like us, the Plaintiﬁs in this case.

125.   WHEREFORE, WE MOVE AND REQUEST THAT UPON FINAL

TRIAL, THIS COURT WILL EXTEND, MODIFY, OR REVERSE the existing
law of immunity arising from the Communications Decency Act, either by

clarifying and drawing truly bright and clear lines between “content creators”

and “publishers” on the one hand and mere “distributors” on the other

(abolishing the editorial or censorial power in such “distributors”), or simply

abolishing any immunity for the distribution of harmful material:

126. We submit that it would be consistent with the Constitution of the State

of Texas, and of the United States, “Let there be full Freedom of Speech, of
                                                                                3o
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 32 of 48




Expression, and of the Press [including the internet], but let everyone bear

full responsibility and accept all liability for the harms arising from the

abuses of these freedoms.”

                            PRAYER FOR RELIEF
127.   We pray that the Defendants be cited and summoned to appear and

answer herein, and that, upon ﬁnal trial and judgment:

128. The Court shall declare and adjudge that we have the right to ﬁle this

Complaint for Equitable Bill of Discovery aimed at identiﬁcation of John and
                                                                                '
Jane Does and Corporate Cos;

129. That our right to ﬁle this Complaint for Equitable Bill of Discovery is

guaranteed by Article 1, §13, known as the Open Courts Provision of the

Constitution of the State of Texas;

13o. Whereupon, we further pray that this Court shall enter a mandatory

injunction to all defendants to recover and produce to us all electronic

records of our daughter’s activities on their web platforms;

131.   And armed with full right and the fruits of this Bill of Discovery, upon

ﬁnal trial-by-jury, we shall have legal judgment for not less than

$52,000,000.00 in actual, consequential, direct, exemplary and punitive

damages for the death of our daughter, of whose estate and heritage we are

the administrators and executors;
                                                                                    31
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 33 of 48




132. And that the Court will award us all our costs of court and the expenses

and fees necessary for the ﬁling, preparation, and pre-trial discovery and

motion practice in this case, as well as all costs of trial;

133. We pray for pre-judgment interest at the highest lawful rate and to the

maximum extent allowed by law from the date of the death of our daughter,

November 3, 2021, until entry of judgment;

134. We pray for interest on the judgment at the highest legal rate from the

date of judgment until collected and

135. We pray for all such other and further relief, at law or in equity, to

which we may show ourselves to be justly entitled.

                                                      Respectfullys        mitted,

                                       BQWOMB
                                            Tonya Cole Dahl
                                                                 373 FM 2571
                                                     Smithville, Texas 78957
                                                    Telephone: 512-575-5982
                                              Email: tonva@mailfence.com




                                       B/w                      Cody
                                                              373 F M 2571
                                                  Smithville, Texas 78957
                                                  Telephone: 512-5755981
                                         Email: codv.dahl@mailfence.com
                                                                        32
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 34 of 48




                         Exhibit A:
                Our Favorite Photo of
                 Our Late Daughter
      ABIGAL OPAL DAHL
                 November 19, 2008-
                  November 3, 2021
                                   R.I.P.




                                                                                33
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 35 of 48
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 36 of 48




                         Exhibit B:
   Bastrop County Sheriff’s Ofﬁce
  Report on “Attempted Suicide” of
     ABIGAIL OPAL DAHL




                                                                                34
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
                    Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 37 of 48
                                BASTROP COUNTY SHERIFF'S OFFICE
                                        Offense / Incident Report
 GENERAL OFFENSE INFORMATION                               Report Type:     Cumulative Report

   Agency    BASTROP COUNTY SHERIFFS OFFICE                         Location     373 FM 2571
                                                                                 SMITHVILLE TEXAS 78957
   Case #    202104723
   File #
   Description          ATTEMPTED SUICIDE
   Incident Status      CLOSED                                                 From Date/Time      10/18/2021 00:00
                                                                               To Date/Time
                                                                               Report Date         10/18/2021 12:59

   Reporting Officer    MAZE.                                                  Initial Rep. Date   10/18/202112:59




 SUBJECT(S)
  Name    CLEMONS, TREY LAMAR
  Address 107 BUNTE STREET SMITHVILLE, TX 78957                                                    Phone     512-718-0506
  Race       B                          Ethnic       N                Sex        M                 DOB       “/"l" (“')
  Height     5'07"                      Weight       265              Hair       BLK               Eyes      BRO
  s.s.N.    _-_-_                       DL&St.                        JRN#
  Sub.      OTHER                       Arrest ID                     Citation #
  Type
  Notes


  Name       ESPINOZA, PAUL
  Address 307 FAWCETT STREET SMITHVILLE. TX 78957                                                  Phone     512-718~5805
  Race    W                        Ethnic    H                        Sex        M                 DOB       “I“l" (“‘)
  Height    6'00"                       Weight       250              Hair       BRO               Eyes      BRO
  s.s.N.                                DL a St.                      JRN#
  Sub.      OTHER                       Arrest ID                     Citation #
  Type
  Notes


  Name      DAHL, ABIGAIL OPAL
  Address                                                                                          Phone     __-       -

  Race    W                             Ethnic       N                Sex        F                 DOB       ..,../.. (M)
  Height                                Weight                        Hair       RED               Eyes
  s.s.N.                                DL 8. St.                     JRNII
  Sub.      OTHER                       Arrest ID                     Citation#
  Type
  Notes


  Name      Cole. Melba
  Address 373 FM 2571 SMITHVILLE. TX 78957                                                         Phone
  Race    W                           Ethnic                          Sex        F                 DOB       teleolo- (no)

  Height                                Weight                        Hair                         Eyes
  s.s.N.    _-_-_                       DL at St.                     JRN#
  Sub.      OTHER                       Arrest ID                     Citation #
  Type
  Notes




Monday,De052022                 16:46       KING,M                                                         Page    1       of   10
                    Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 38 of 48
Case No: 2021-04723



     Name        Dahl, Cody
     Address 373 FM 2571 SMITHVILLE, TX 78957                                                                Phone        512-575-5981
     Race    W                           Ethnic             N                 Sex          M                 DOB          “l“l“ (“‘)
     Height                                     Weight                         Hair        BRO               Eyes
     S.S.N.      _—_—__                         DL 8. St.                     JRN#
     Sub.        WITNESS                        Arrest ID                     CItatlon #
     Type
     Notes



    RELATIONSHIP(S)
    Person A     ABIGAIL OPAL DAHL           Relationship   UNKNOWN                            Person B   PAUL ESPINOZA



    Person A     ABIGAIL OPAL DAHL           Relationship   UNKNOWN                            Person B TREY LAMAR CLEMONS


    PROPERTY
     Property Category OTHER                                                            Loss Type     EVIDENCE
     Descrlptlon          Dog Leash Rope

     Notes                CID Locker 10

     Make                                           Model                                  Style
     Serial No / VIN                                                                       Color
     Vehicle Year                                   Plate No/ State/
                                                    Type
     Loss Date                                      Loss Quantity                          Loss Value
     Rec Date                                       Rec Quantity                           Rec Value
     Drug Type                                      Drug Quantity                          Drug UOM


     INVESTIGATOR
     Name      1525 SANCHEZ,                          Assigned Date    1   0/1 9/2021              Supplement No      0


    Entered By     MAZE,


    Ofﬁcer         MAZE,


    Supervlsor




  Monday, 06052022                   16:46       KING,M                                                              Page     2   of     10
                  Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 39 of 48
Case No: 2021 -04723




                         Incident # 2021-04723 (Synopsis)

INTRODUCTION

On 10-018-2021 at approximately 1259hrs, I, Deputy Maze # 1614, was dispatched to 373 FM 2571
Smithville, TX 78957 for an assist EMS call.




  Monday. Dec 5 2022       16:46       KING. M                                           Page   3   of   10
                    Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 40 of 48
Case No: 2021 -04723




                                          Incident # 2021-04723
                                                       MAZE,
     INTRODUCTION

    On 10-018—2021 at approximately 1259hrs, l, Deputy Maze # 1614, was dispatched to 373 FM 2571
    Smithville, TX 78957 for an assist EMS call.

     SCENE SUMMARY
     |arrived and observed a white female laying on her back on the ground with Arcadian EMS and
     Smithville Fire Department personnel conducting CPR on her.

     INTERVIEWS

    I walked
             up to the scene and observed a juvenile female connected to EKG machine and medical
    personnel conducting chest compressions. l observed a large wooden tree house and observed a male
    laying on his stomach with his feet hanging off the edge screaming and crying out loud. l was advised
    by Trey Lamar Clemons (B/M DOB 07—31-1982) (Chief SFD) the male in the tree house is the father.
    The grandmother was on her knees praying and talking to the juvenile asking her to come back. l
    asked the grandmother to step back so medics could help her.

     was provided the identity of the juvenile by the grandmother to be Abigail Opal Dahl (W/F DOB 11-19-
     |




    2008). The mother came running down the hill from the house and the father came out of the tree
    house and they went to their daughter’s side. l observed they were getting in the way of the medics and
    advised them to move to Abigail’s feet. The mother and father held onto Abigail’s feet and began
    praying. l stood by the parents and would advise them to let go of Abigail‘s feet when the medics would
    announce clear before the shock.

    The grandmother advised the mother and Abigail had gotten into an argument over her cell phone
    earlier. The grandmother advised Abigail‘s mother had found some things on a social media site she
    did not agree with and took her phone. The grandmother advised Abigail said she was going down to
    the tree house and do some school work. Grandmother advised an hour or so had gone by when
    Abigail‘s went to check on her she found her hanging in the tree house.

    Trey advised when he arrived the Arcadian and Abigail's father were up in the tree house and had just
    taken her down from the leash she had used to hang herself. Trey advised he and his Lieutenant Paul
    Espinoza (H/M DOB 10-23-1974) went to the tree house and stood on the ground while the Arcadian
    Medic and father lowered Abigail off the side to them. Trey advised he and Paul placed Abigail onto the
    ground and restarted CPR.

    l observed fire and ems work on Abigail
                                            trying to regain a pulse. I observed the medics load Abigail
    onto the gurney place her into the ambulance and leave the scene. was advised Abigail was being
                                                                          |




    transported to Ascension Seton located in Smithville, TX.

    l    observed CID arrive on scene released scene and provided all the information l had obtained.

    l    was released from the scene per ClD and completed an information report.

    |
         photographed the scene and uploaded the pictures into BMS.

    The entire incident was recorded on body worn camera and dash camera.


    END OF REPORT.



 Monday, Dec52022                16:46       KING.M                                               Page   4   of   10
                  Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 41 of 48
Case No: 2021 -O4723




     DEPUTY’S ACTIONS

    Took Photographs of the Scene

    Attached Photographs in RMS



    STATUS

    Released to CID




 Monday. Dec52022          16:46    KING, M                                Page   5   of   10
                   Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 42 of 48
Case No: 2021—04723




                                      Incident # 2021-04723 (1)
                                            1814 MOEHNKE,
            On Monday the 18th day of October 2021 I, Investigator JC Moehnke, went to 373 FM 2571
    regarding a suicide attempt by hanging.

            The property known as 373 FM 2571 is located in the rural area outside of Smithville. Trees
    are spread throughout the property. Within the property lies a tree house made of cedar. The structure
    is open and amongst the trees.

           Members of the Bastrop County Sheriff's Office, Acadian EMS, Smithville Volunteer Fire
    Department, and family were present when l arrived.

             Upon arrival observed several people gathered at the corner of the tree house. EMS
                         |




    personnel and possibly volunteer fireman were performing life saving procedures on a young female
    (Abigail Dahl) who was apparently the person who attempted suicide.

            The person was unconscious, on the ground supine, eyes closed, with emergency equipment
    attached including collar. did not observe any injuries to the exposed areas of the body including the
                               I


    arms and legs. Refer to photographs.

            A belt and drawing were on the ground under or immediately adjacent to the tree house. The
    belt was not a known to be a part of the event and first responders did not remove the belt from Abigail
    Dahl. Refer to photographs.

            Investigator Eliseo Sanchez informed meDahl was found hanging from a leash attached to a
    tree above the tree house floor.

           When I looked to the tree house observed the leash attached to a tree branch. The house
                                              |




    was an open structure consisting of stairs, a floor and supporting posts; no rails and no roof. Refer to
    photographs.

           The leash was looped with stitching at one end with a clasp attached to the opposite end. The
    leash was made of a black color durable material. Refer to photographs.

            The leash had been laid over the tree branch and tied by threading the clasp end through the
    loop thereby creating a secure hold to the branch. Refer to photographs.

             Blond strands of hair was present in the clasp. Refer to photographs.

            A few items were present on the tree house floor seemingly in no particular placement. The
    items are as follows from bottom left corner (stair side) to top right corner:
            - Watermelon flavor ‘Glee'
                                          Chewing Gum
            -
              Peppermint flavor 'Real Good' Chewing Gum
            - 2 common
                          writing pencils
            - 1
                writing ink pen
            - Neonatal Adult Pulse Oximeter Adhesive Sensor
            - Radio Translucent Electrode
            -
              'Physio Control' test load cable test box
            - 'Larson
                       Elementary Algebra Within Reach' hard cover text book (l flipped through the pages
            of the
                                                                                   book to find nothing
            extraordinary)
            - blue cover
                          spiral paper notebook (l looked at the pages to find drawings and math question
    answers
                                                    written on the paper)



  Monday,Dec52022             16:46        KING.M                                                 Page   6     of   10
                  Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 43 of 48
Case No: 2021-04723



    Refer to photographs.

            Color drawings were present on the floor. The drawings appeared to be random miscellaneous
    characters. Refer to photographs.

            The leash was removed from the branch by cutting the branch from the tree. The leash was of
    such that a 6' man had to climb the tree to get to it.

             Based on observations at the scene a working theory was:
             1. Abigail Dahl climb the stairs to the tree house floor
             2. The leash was either carried along or already present
             3. Abigail Dahl climb the tree likely utilizing the same branch as the person used to remove the
    leash
            4. Abigail Dahl, standing on and balancing herself on said lower branch, placed the leash
    around the branch
            5. The clasp end was moved through the loop securing the leash to the tree
            6. The opposite end of the loop was placed around the neck and clasp buckled to the lead,
    thereby creating another secure loop that could cinch around the neck
            7. Abigail Dahl allowed herself to fall thereby causing the loop around the neck to cinch

    Again, this is only a working theory of how the hanging could have taken place based on the
    knowledge and observations at the time.

             Abigail Dahl was transported to Acension Seton Smithville Hospital 1201 Hill Road.

            l spoke with Abigail Dahl's grandmother. According to the grandmother, Abigail and family

    have been visiting rom Canada since Friday 10/15/2021. They are staying at 373 FM 2571. The
    grandmother described a recent change in attitude characterized as "rebellious". She is home
    schooled and socialized through different programs. She has been taking cellular phones without
    permission; Abigail Dahl does not have a phone of her own. Grandmother was aware of a group chat
    social media realm called 'Converse'. The 'Converse' people were not well liked.

             Abigail has a close friend in Lockhart; name not known.

             The family is strong in their faith and God and were seen actively praying throughout the event.

            Abigail Dahl's heartbeat resumed at Smithville hospital. She was transported to Dell Children's
    Hospital 4900 Mueller Boulevard in Austin.

             Photographs attached to RMS.

             End of Report - jm 1579




  Monday, Dec 5 2022           16:46       KING, M                                                Page   7   of   10
                  Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 44 of 48
Case No: 2021 ~04723




                                       Incident # 2021-04723 (2)
                                                1525 SANCHEZ,
    On 18 October 2021 Investigator E. Sanchez #1295 responded to 373 FM 2571 Smithville TX in
                          |




    reference to an attempted suicide. Upon arrival was brief by Sgt Reyes who advised the victim was a
                                                       |




    13 year old female identified as Abigail Dahl.

     observed numerous people on scene, medics were tending to Abigail, her parents were at her feet
     l

    praying and her grandmother was at a tree looking over the family.

    l pulled the grandmother to the side and spoke with her briefly. She was identified as Melba Jean Cole

    09 May 1946. She advised Abigail and her mother got into an argument over social media posts she
    made at which time her mother took her phone away. Melba said Abigail went outside to the tree
    house/swing and was outside for approximately an hour. Within that hour her father Cody Dahl went
    outside to check on Abigail at which point she was observed by Cody handing in the tree by a dog
    leash. With the help of volunteer firefighters Abigail was brought down from approximately 10 feet in
    the air and placed on the ground where she was provided medical care. After approximately 35
    minutes of life saving measures she was transported to Seton Hospital Smithville. l changed locations
    to the hospital and was advised by medical staff that a heart rate had been restored and they will be air
    flighting her to Dell Children's Hospital. At this time l wished the family well and returned to service.

    As of 10/18/2021 Abigial was still in the ICU in critical condition.

    On 11/03/21 l received a phone call from Investigator Karla at the Travis County Medical Examiners
    Office. l was advised Abigail was pronounced deceased at 1108hrs on this date by Dr. Marita
    Thompson at Dell Children's Hospital. Investigator Karla advised Abigail did not show signs of progress
    and never regained consciousness.

    EOS

    E. Sanchez #1295




 Monday,Dec52022               16:46        KlNG,M                                               Page   8   of   10
                  Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 45 of 48
Case No: 2021 -04723




                                            Incident # 2021-04723 (3)
                                                  1610 SGT REYES,
     On 10-18-21, at about 1302hrs Sgt. R. Reyes # 612 assigned me a call along with Deputy D. Maze in
                                        |




     reference to a 13 year old that hung himself at 373 FM 2571 in Smithville.

     Given the information Communications was given on this call, contacted CID Sgt. C. Brimhal| and
                                                                     |




     advised him of the information we had and were receiving. He advised he would have some
     investigators start heading to this call as well. Prior to arrival, i heard Deputy Maze advised the 13 year
     old was now on the ground and EMS was doing CPR.


     Upon arrival, i observed EMS and first responders on scene attending to a young female (Abigail Dahi)
     on the ground. CPS was being performed on her. There was a female and male (her parents) at the
     end of the female‘s feet praying. While Ems continued to work on Abigail i briefly spoke to Deputy
     Maze. He stated what he had gathered so far from Abigail's grandmother was that Abigail and her
     mother had an argument this morning over a cell phone. Abigail 's phone was removed by her mother.

    Abigail then walked down to the “tree house" (which is basically a floor and the ladder in the air
    attached to a tree) to do some work or homework. Apparently, after about an hour her mother walked
    to the tree house to check on Abigail and found her hanging from a tree with a black dog leash around
    her neck. Deputy Maze advised there was a lime / green colored suicide note that was left behind by
    Abigail. did see a black dog leash still attached to one of the tree branches up by the tree house.
             |




     A short time later Bastrop County CID Sgt. A Gonzalez, inv. E. Sanchez, lnv. J. Moehnke and lnv. C.
     Jonse made scene. EMS transported Abigail to Smithviile Hospital. l then cleared the scene.

     Later on Investigator Moehnke advised me that Abigail was alive and transported to Dell Children‘s
     Hospital in Austin Texas.

     R. Reyes # 612




  Monday,Dec52022               16:46          KING.M                                                Page   9   of   10
                    Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 46 of 48
Case No: 2021 -04723




                                         Incident # 2021-04723 (4)
                                                          JONSE,
     On Monday the 18th day of October 2021 I, Investigator Cameron Jonse, responded to 373 FM 2571 in
     Smithville, Texas regarding a suicide attempt by hanging.

    Upon arrival, observed several people gathered at the corner of the tree house. Acadian EMS Unit
                     I


    #923 and Smithville Volunteer Fire Department were performing lifesaving procedures on a young
    female who was identified as Abigail Dahl.

     |observed that Abigail Dahl parents were near their daughter praying. Investigator Sanchez pulled
    Abigail Dahl grandmother to the side and spoke with her. l was standing near Investigator Sanchez
    during the conversation. Abigail Dahl grandmother stated that Abigail Dahl got into an argument over
    social media that resulted in her mother taking any her phone. Grandmother stated that Abigail Dahl
    went outside to the tree house and was there for approximately one hour. Grandmother stated that
    Abigail Dahl father went outside to check on her when he observed her hanging in the tree by a dog
    leash. Smithville Volunteer Firefighters assisted getting Abigail Dahl down from the tree and to the
    ground to preform life saving measures.

    Acadian EMS Unit #923 transported Abigail Dahl to Seton Hospital in Smithville.

     traveled to Seton Hospital in Smithville. was informed by Investigator Sanchez that the Hospital Staff
     |                                           |




    was able to get a heart rate back and that they would be transported by air to Austin, Texas.

     No further information gathered on scene.

     l   departed the hospital and returned to service.

     End of supplement.

     Investigator Cameron Jonse #1455




  Monday, Dec52022               16:46        KlNG,M                                            Page   10   of   10
         Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 47 of 48




                          Exhibit C:
   Google’s “Postmortemrequests”
              Refusal re:
      Theabcat89@gmail.com
     Belonging to our daughter
            Abigail Opal Dahl




                                                                                35
Cody Dahl and Tonya Cole Dahl, individually and as Executors of the Estate of
Abigail Opal Dahl, a deceased minor, v. Alphabet, Discord, Google LLC, et al.
             Case 1:23-cv-01496 Document 1-1 Filed 12/11/23 Page 48 of 48

Subject: [7-7828000032969] Your request for accessing a deceased user's account
(Internal Ref. No. 26350489)
From: postmortemrequests@goog|e.com
Date: 11/7/22, 3:46 PM
To: tonya@mailfence.com


Dear Tonya Dahl,

We are sorry for your loss and we thank you for your patience. We have reviewed your
request to obtain the contents of account, theabcat89@gmail.com. Having reviewed
the settings, attributes, and other relevant information pertaining to the account we
are unable to provide the requested content.

Our determination regarding whether we are able to provide the requested content is
based on a variety of factors, including legal restrictions. To protect the privacy of
people who use Google services, we are unable to share further details about the
account or discuss our determination in greater detail.

Thank you in advance for your understanding.
The Google Team
